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                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


SUNIL AMIN, TRUSHAR PATEL,            Case No. 1:17-cv-01701-AT
MANAN BHATT, MARY
BLASCO, NICHOLAS BIASE,
ROSA GRUE, JOHN DUDASIK,
TODD BASLER, and GAIL
                                      The Honorable Amy Totenberg
MAHONEY, on behalf of
themselves and all others similarly
situated,

               Plaintiffs,

      v.

MERCEDES-BENZ USA, LLC, and
DAIMLER AG,

               Defendants.


    MEMORANDUM OF LAW IN SUPPORT OF CLASS COUNSEL’S
    MOTION FOR ATTORNEYS’ FEES, EXPENSES, AND SERVICE
           AWARDS TO CLASS REPRESENTATIVES
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I.    INTRODUCTION
      This case involves an alleged defect in the HVAC system of millions of

Mercedes vehicles that Plaintiffs contend results in mold, mildew, and foul odors,

as a result of which owners and lessees paid out of pocket because Mercedes did

not cover it under warranty. Plaintiffs and Mercedes-Benz USA, LLC and Daimler

AG (jointly “Mercedes”) agreed to, and the Court preliminarily approved, a

nationwide class action settlement (“Settlement”) that reimburses Class Members

in cash for past out-of-pocket costs related to the alleged defect and establishes an

enhanced, forward-looking warranty to cover those issues if and as they arise in the

future. The Settlement covers some 2.5 million vehicles. The past-repair portion

and the forward-looking warranty are uncapped; Mercedes will pay all eligible

claims. As discussed in greater detail below, the estimated value of the benefit to

Class Members of the future-repairs warranty alone—i.e., not including the cash

reimbursement for past repairs—is between $30.8 million and $97.5 million. See

Ex. 1, Decl. of Lucy P. Allen (“Allen Decl.) ¶ 29.

      To compensate them for the work undertaken to achieve this valuable result

for the Class, Class Counsel request an award of $5.2 million in attorneys’ fees and

$200,000 for reimbursement of expenses reasonably incurred in connection with

this litigation. Mercedes does not object to this award. Though at this time



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Plaintiffs can only estimate the value of the future-warranty portion of the

Settlement benefits, not the amount of cash reimbursement for past repairs, the

requested fees represent, at most, 14.4% of this part of the total estimated value of

the benefits the Settlement achieves for the Class, and likely far less. This falls

well below the 30% average fee award and the 25% benchmark in this Circuit. A

lodestar crosscheck, though not required, also supports the requested award: the

$5.2 million in fees represents a modest multiplier of 1.41 on current lodestar, not

including the years of additional work Class Counsel will perform, well in line

with acceptable multipliers in this Circuit. And, all of the expenses were

reasonably incurred on behalf of the Class. Thus, Class Counsel respectfully

request that the Court approve an award of $5.2 million in attorneys’ fees and

$200,000 in expenses.

      Class Counsel also request approval of an aggregate service award of

$40,000 to be distributed among the nine Class Representatives, ranging from

$6,000 to $2,500 each based on the number of physical in-person inspections

conducted on their vehicles, to compensate them for their efforts on behalf of the

Class. Mercedes agreed not to object to this award, and the award is warranted

legally and factually. The Class Representatives have been informed of their

allocation, and all have signed off on it.


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      Class Counsel respectfully request that the Court grant their motion.

II.   BACKGROUND AND PROCEDURAL HISTORY

      A.     Overview of the Litigation

      This Court is well-familiar with the allegations in this case (and two related

cases pending in California and New Jersey). On May 9, 2016, Plaintiff Manan

Bhatt and others filed an initial class complaint against Mercedes in the Central

District of California (the “Bhatt Action”), alleging the pertinent facts on behalf of

a California class. On May 11, 2017, Plaintiffs Sunil Amin and Trushar Patel filed

the instant action in this District on behalf of a Georgia class. On December 12,

2018, Plaintiff Nicholas Biase and others filed a class action complaint in the

District of New Jersey (the “Biase Action”). As part of the Settlement, the Parties

agreed to Plaintiffs filing a first amended complaint, adding each claim and named

plaintiff from the three lawsuits and Class Vehicles nationwide for purposes of

effectuating the Settlement. The Court granted Plaintiffs’ Unopposed Motion for

Leave to File an Amended Complaint, and Plaintiffs filed the First Amended

Complaint. [Dkts. 75 & 79.]

      These cases were intensively litigated from inception. Plaintiffs engaged in

extensive pre-filing factual investigation, as evidenced by the length and detail of

each case’s complaint. Class Counsel interviewed Class Vehicle owners and



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researched online complaints. See Ex. 2, Declaration of Jonathan D. Selbin

(“Selbin Decl.”) ¶ 26. Further, prior to filing, Plaintiffs consulted leading experts in

mechanical engineering and chemistry who inspected vehicles, identified the

alleged design defect, and found mold. Id. ¶ 27. Later, Plaintiffs’ experts

disassembled and analyzed Class Vehicle and competitors’ HVAC system designs.

Id. ¶¶ 55-57.

      Mercedes fought vigorously to dismiss these actions in multiple courts,

through multiple motions, and Plaintiffs succeeded at each turn. This Court and the

California court denied in total four motions to dismiss and two motions to strike.

Id. ¶¶ 30, 34, 41, 43. Daimler also refused to accept service (including through

their counsel who also represent MBUSA) forcing Plaintiffs to attempt service via

the Hague Convention. Id. ¶ 38. Ultimately, Plaintiffs were forced to file a motion

for service by alternate means. Id. ¶ 39.

      Plaintiffs also conducted extensive discovery. Between September 2017 and

April 2019, Mercedes made approximately 19 document productions spanning

nearly three decades of materials which encompassed the vast majority of the Class

Vehicles. Id. ¶ 48. Additionally, Plaintiffs reviewed dense and voluminous

database documents, public TSB lists and parts diagrams for Class Vehicles and

their competitors. Id. ¶ 51. Plaintiffs also served subpoenas on third-party


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suppliers. Id. ¶ 52.

      In the spring of 2019, the Parties agreed to mediation, and engaged a highly

respected and experienced mediator, the Hon. Edward Infante (ret.) of JAMS. Id. ¶

60. They prepared comprehensive mediation briefs detailing the merits of their

claims and defenses, including expert analysis and research on comparable cases.

Id. ¶ 61. A full-day, in-person mediation in May 2019 ended without agreement,

but the Parties agreed to continue mediating—exchanging additional information

and having ongoing discussions with each other and with Judge Infante—to narrow

the disputed issues. Id. ¶ ¶ 62-63. In July 2019, the Parties mediated in person

again. Id. ¶ 64. On July 25, 2019, as a result of this intensive information exchange

and negotiation the Parties reached an agreement-in-principle and term sheet. Id.

      Only after reaching agreement on the terms of relief for the Class did the

Parties begin negotiating Class Counsel’s attorneys’ fees. Id. ¶ 65; Ex. 3, Decl. of

Hon. Edward A. Infante (“Infante Decl.”) ¶ 7. After negotiating about fees for over

a month without reaching resolution, the Parties sought Judge Infante’s help in

reaching an agreement on fees. Id. ¶ 66. On September 6, 2019, the Parties

accepted Judge Infante’s mediator’s proposal on fees. Id. ¶ 67.

      B.     The Settlement Provides Outstanding Benefits for the Class.
      The Settlement provides outstanding benefits to Class Members directly



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responsive to the harm they incurred. It covers and estimated 2.5 million vehicles.

It entitles Class Members to cash reimbursement for out-of-pocket costs paid for

past repairs at both Authorized Service Centers and independent shops related to

the moldy and mildew odors originating from their HVAC systems. There is no

limit to the number of claims or amount of total money that Mercedes will pay to

reimburse qualified past repairs: all eligible claims will be paid. The Settlement

also provides a forward-looking extended warranty that covers qualified future

repairs to address the moldy odors for each vehicle for up to 10 years or 125,000

miles. In effect, the Settlement provides Class Members with an enhanced

warranty, one that reimburses them with cash for repairs for the last ten years and

covers those repairs ten years into the future.

III.   LEGAL STANDARD
       “It is well established that when a representative party has conferred a

substantial benefit upon a class, counsel is entitled to attorneys’ fees based upon

the benefit obtained.” Lunsford v. Woodforest Nat’l Bank, No. 1:12-CV-103-CAP,

2014 WL 12740375, at *11 (N.D. Ga. May 19, 2014) (citing Camden I

Condominium Ass’n v. Dunkle, 946 F.2d 768, 771 (11th Cir. 1991)). When a class

settlement creates a fund for class members, attorneys’ fees should be awarded to

class counsel under the common benefit doctrine based on a percentage of the



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fund. See Camden I, 946 F.2d at 774; Boeing Co. v. Van Gemert, 444 U.S. 472,

478 (1980).

      Courts often classify fee arrangements as a “constructive common funds”

and award fees on a percentage basis even when the settlement agreement states

that attorneys’ fees will be paid separately. See, e.g., Dewey v. Volkswagen

Aktiengesellschaft, 558 F. App’x 191, 197 (3d Cir. 2014) (applying the percentage-

of-recovery method where the settlement agreement provided attorneys’ fees

would be paid separately from the reimbursement fund); Johnston v. Comerica

Mortg. Corp., 83 F.3d 241, 245–46 (8th Cir. 1996) (“Even if the fees are paid

directly to the attorneys, those fees are still best viewed as an aspect of the class’

recovery”, and, “[a]ccordingly, the direct payment of attorney fees by defendants

should not be a barrier to the use of the percentage of the benefit analysis.”); In re

Heartland Payment Sys., Inc., 851 F. Supp. 2d 1040, 1072 (S.D. Tex. 2012)

(providing an overview of the constructive common-fund doctrine); see also

Manual for Complex Litigation (Fourth) § 21.7 (2004) (“If an agreement is reached

on the amount of a settlement fund and a separate amount for attorney fees and

expenses, . . . the sum of the two amounts ordinarily should be treated as a

settlement fund for the benefit of the class…”).

      “[T]here is no hard and fast rule mandating a certain percentage of a


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common fund which may reasonably be awarded as a fee because the amount of

any fee must be determined upon the facts of each case.” Camden I, 946 F.2d at

774. Nevertheless, “[t]he majority of common fund fee awards fall between 20

percent to 30 percent of the fund,” although “an upper limit of 50 percent of the

fund may be stated as a general rule, though even larger percentages have been

awarded.” Id. at 774.

IV.   ARGUMENT

      A.     The Settlement Establishes a Constructive Common Fund.
      The attorneys’ fees Class Counsel request, and to which Mercedes has

agreed not to object, are paid on top of, not out of, Class Members’ recoveries.

They were negotiated separately from, and only after, the benefits to Class

Members, and were agreed to only on a mediator’s proposal. See Infante Decl. ¶ 7.

Nevertheless, the fees are “still best viewed as an aspect of the class’ recovery.”

Johnston Corp., 83 F.3d at 245–46. Thus, the Settlement should be treated as

establishing a constructive common fund, and attorneys’ fees awarded based on a

percentage of the fund.

      The Settlement here is distinguishable from the fee arrangement the

Eleventh Circuit rejected in In re Home Depot, Inc., 931 F.3d 1065 (11th Cir.

2019). There, while the settlement agreement did specify that attorney’s fees would



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be paid separate from the class fund, the parties left the amount of those fees

undetermined. Id. at 1071. The Court held that the constructive common fund

doctrine does not apply “when the agreement provides that attorney’s fees will be

paid by the defendant separately from the settlement fund and the amount of those

fees is left completely undetermined.” Id. at 1081 (emphasis added). Here, the

amount of attorneys’ fees is not “left completely undetermined”; Mercedes agreed

to pay $5.4 million in attorneys’ fees and expenses. Thus, the Settlement

establishes a constructive common fund, and attorneys’ fees should be based on a

percentage of that fund.

      Courts in this Circuit apply the common benefit percentage-of-the-fund

method where, as here, a settlement creates an uncapped, “claims-made”

settlement process. As the Eleventh Circuit has explained, “no principled reason

counsels against” applying a percentage-of-recovery rule to claims-made

settlements: ‘[a] claims-made settlement is . . . the functional equivalent of a

common fund settlement where the unclaimed funds revert to the defendant’;

indeed, the two types of settlements are ‘fully synonymous.’” Poertner v. Gillette

Co., 618 F. App’x 624, 629 n. 2 (11th Cir. 2015) (quoting 4 William B.

Rubenstein, Newberg on Class Actions § 13:7 (5th ed. 2011)). Indeed, Camden I

involved a settlement that created a reversionary common fund—“fully


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synonymous” with the claims-made settlement here—and the Eleventh Circuit held

that attorneys’ fees should be determined by the percentage method in that case.

946 F.2d at 770, 774, 775.

      B.     Class Counsel’s Fee is Reasonable Under the Percentage Method
      In Camden I, the Court noted that awards typically range from 20% to 30%

and that 25% is considered the “benchmark” percentage. 946 F.2d at 775.

According to recent empirical studies, however, “the average percentage fee award

in this Circuit is now at or above 30%, as ‘courts within this Circuit have routinely

awarded attorneys’ fees of 33 percent or more of the gross settlement fund.’”

Cabot E. Broward 2 LLC v. Cabot, No. 16-61218-CIV, 2018 WL 5905415, at *7

(S.D. Fla. Nov. 9, 2018) (quoting Fernandez v. Merrill Lynch, Pierce, Fenner &

Smith, Inc., 2017 WL 7798110, at *4 (S.D. Fla. Dec. 18, 2017)); see also Wolff v.

Cash 4 Titles, No. 03-22778-CIV, 2012 WL 5290155 at *5-6 (S.D. Fla. Sept. 26,

2012) (“The average percentage award in the Eleventh Circuit mirrors that of

awards nationwide—roughly one-third.”); T. Eisenberg, et al., Attorneys’ Fees in

Class Actions: 2009-2013, 92 N.Y.U. Law Rev. 937, 951 (2017) (the median fee in

the Eleventh Circuit from 2009 to 2013 was 33%).

      The $5.2 million award Class Counsel seek, and Mercedes agreed to pay, is

well below the 33% average fee award and the 25% benchmark. Where, as here,



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the settlement involves an uncapped, as-yet-unknown amount, as opposed to a

known fund amount, attorneys’ fees are awarded based on a “reliable estimate” of

the potential total benefits made available to the class. In re Domestic Air Transp.

Antitrust Litig., 148 F.R.D. 297, 323 (N.D. Ga. 1993) (finding that expert

testimony provided a “reliable estimate for the purpose of examining the range of

value of the settlement”); see also Wing v. Asarco Inc., 114 F.3d 986, 990 (9th Cir.

1997) (When it is “impossible to determine the ‘actual’ value of the recovery for

percentage purposes, . . . the court must estimate the total value of the

settlement.”); Cullen v. Whitman Med. Corp., 197 F.R.D. 136, 147 (E.D. Pa. 2000)

(“In applying the percentage-of-recovery method, [a court] must begin by making

a reasonable estimate of the settlement value.”).

      Here, a “reliable estimate” of the Settlement value is provided by Lucy P.

Allen, an experienced economist and the Managing Director of NERA Economic

Consulting, who conducted an analysis to estimate the market value just of the

future warranty relief provided to Class Members under the Settlement. She

calculated the estimated value of the future repairs using the following factors: (1)

the number of at-issue vehicles sold; (2) the estimated number of future HVAC

repairs; and (3) the estimated market price of an HVAC repair covered by the

Settlement. See Allen Decl. ¶ 8. While the total value of this Settlement cannot be


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reliably estimated—because we do not yet know the amount of cash

reimbursement claims for past repairs to be paid—Ms. Allen calculated the value

of just the future-repairs component of the Settlement alone at $30.8 million and

$97.5 million. See Allen Decl. ¶ 29.

      In order to determine the fee percentage from this constructive fund, the

proposed fees and expenses are added to the denominator. See In re Arby’s Rest.

Grp., Inc. Data Sec. Litig., No. 1:17-CV-1035-WMR, 2019 WL 2720818 (N.D.

Ga. June 6, 2019) (determining the “total benefit to the class” by “adding the

requested fee, litigation expenses, and the cost of administration to the $2 million

aggregate cap for claims”); In re Domestic Air Transp. Antitrust Litig., 148 F.R.D.

297, 354 (N.D. Ga. 1993) (holding that defendant’s “payment of administrative

expenses and attorney’s fees” should be “included in the Court’s calculation of the

amount of the common fund” because it “inures to the benefit of the class”);

Manual for Complex Litigation (Fourth) § 21.7 (2004) (“If an agreement is reached

on the amount of a settlement fund and a separate amount for attorney fees and

expenses, . . . the sum of the two amounts ordinarily should be treated as a

settlement fund for the benefit of the class, with the agreed-on fee amount

constituting the upper limit on the fees that can be awarded to counsel.”). Thus,

the fee percentage denominator—adding the $5.4 million award of fees and


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expenses to Ms. Allen’s estimate of the floor value just of the forward-looking

warranty—results in a constructive common fund in this case between $36.2

million and $102.9 million, even before considering the additional value of cash

reimbursement for past out-of-pocket costs. Class Counsel’s requested fees

represent at most, between 5% and 14.4% of the common fund, and surely

substantially less, once the value of past repair reimbursements is included. Class

Counsel’s fee request is only a small percentage of the amount that would be

permissible under controlling law. Class counsel respectfully submit that their

requested fee—which is well below the benchmark fee award in this Circuit—is

warranted.

      C.     Class Counsel’s Fee Request is Reasonable Under the Johnson
             and Camden I Factors.
      Although 25% is the presumptive benchmark for determining the

reasonableness of a fee award, the Camden I court specified that the percentage

“may be adjusted up or down based on the circumstances of each case.” 946 F.2d

at 775. In considering whether to adjust the percentage up or down, the Camden I

Court directed district courts to evaluate the factors from Johnson v. Ga. Highway

Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974), as well as any other pertinent

considerations. Camden I, 946 F.2d at 776. These Johnson factors are: (1) the time

and labor involved; (2) the novelty and difficulty of the questions; (3) the skill

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requisite to perform the legal services properly; (4) the preclusion of other

employment; (5) the customary fee; (6) whether the fee is fixed or contingent; (7)

time limitations imposed by the client or circumstances; (8) the amount involved

and the results obtained; (9) the experience, reputation, and ability of the lawyers;

and (10) fee awards in similar cases.1 George v. Academy Mortgage Corp. (UT),

369 F. Supp. 3d 1356, 1376 (N.D. Ga. 2019). Other relevant factors include the

number of objections from class members, the risk undertaken by class counsel,

and the economics of handling class actions. In re Equifax Inc. Customer Data

Security Breach Litig., 1:17-md-2800-TWT, 2020 WL 256132, at *32 (N.D. Ga.

Jan. 13, 2020).

      Given that the requested fee award is already significantly below the 25%

benchmark, none of the Johnson factors justifies any downward adjustment of the

fee award, and Class Counsel are not seeking an adjustment of the award above the

1
  Several of the Johnson factors are of limited relevance to this case or neutral and
therefore not addressed: the undesirability of the case; the nature of the attorney-
client relationship; the preclusion of other employment; and time limitations
imposed by the client or circumstances. Johnson noted that civil rights attorneys
who accept unpopular cases may suffer hardships deserving a higher fee, which
Class Counsel did not face in accepting this case. Class Counsel also did not have a
continuing attorney-client relationship with the named plaintiffs that would have
caused them to offer a volume discount or reduced fee to obtain future business.
Time limitations and the preclusion of other employment were no more or less
significant in this case than in any large class action. Additionally, Plaintiffs will
address any objections to the fee award in their reply brief.


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benchmark. Nevertheless, the key factors weigh in favor of approval of the award.

             1.    The Time and Labor Involved
      Class Counsel spent over 6,609 hours intensively litigating this case. Selbin

Decl. ¶ 72; Ex. 4, Declaration of Ketan A. Patel (“K. Patel Decl.”) ¶ 22. This

represented—across the three filed cases—pre-suit investigation, briefing multiple

motions, discovery and extensive expert work, and mediation and negotiation of

the Settlement. Id. Class Counsel will spend dozens or even hundreds of more

hours assisting Class Members with their claims, as well as being “on call” for the

next ten years as needed to assist with any issues that arise under the extended

warranty. Selbin Decl. ¶ 73; K. Patel Decl. ¶ 27. This work is reasonable and

justified in view of the issues, the complexity of the case, the manner in which the

case was defended, and the result. This factor weighs in favor of approval of the

requested fee award.

             2.    The Novelty and Difficulty of the Questions
      “It is common knowledge that class action suits have a well-deserved

reputation as being most complex.” Columbus Drywall & Insulation, Inc. v. Masco

Corp., No. 1:04-CV-3066-JEC, 2012 WL 12540344, at *3 (N.D. Ga. Oct. 26,

2012) (citing Cotton v. Hinton, 559 F.2d 1326, 1331 (5th Cir. 1977)). This case is

no exception. This case presented several novel and difficult questions, many of



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them centered on the highly technical nature of the facts of this case. Class Counsel

engaged in extensive pre-filing factual investigation, interviewing Class Vehicle

owners and researching online complaints, to confirm that moldy and mildew

odors originating from HVAC systems in Class Vehicles were similar and

widespread. Selbin Decl. ¶ 26-27; K. Patel Decl. ¶ 14. Class Counsel then

consulted leading experts in mechanical engineering and chemistry who inspected

vehicles, identified the alleged design defect, and found mold. Selbin Decl. ¶ 55-

56; K. Patel Decl. ¶ 14. Later, Plaintiffs’ experts disassembled and analyzed Class

Vehicle and competitors’ HVAC system designs. Selbin Decl. ¶ 57; K. Patel Decl.

¶ 16. Class Counsel reviewed dense and voluminous database documents, public

TSB lists and parts diagrams for Class Vehicles and their competitors. Selbin Decl.

¶ 51; K. Patel Decl. ¶ 15. Additional time and cost resulted from the difficulty of

serving a foreign defendant, Daimler, which refused to accept service (including

through their counsel who also represent Mercedes). Plaintiffs were forced to

attempt service via the Hague Convention and, ultimately, to file a motion for

service by alternate means. Selbin Decl. ¶ 37-39. The coordination of three

separate cases in different districts also raised novel and difficult questions. All of

these questions substantially increased Class Counsel’s risk and the litigation’s

complexity. This factor weighs in favor of approval of the requested fee award.


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             3.     The Skill Requisite to Perform the Legal Services Properly
                    and the Experience, Reputation, and Ability of the Lawyers
      This case required a high level of experience and skill. “[T]he prosecution

and management of a complex national class action requires unique legal skills and

abilities.” Columbus Drywall, 2012 WL 12540344, at *4 (citing Edmonds v.

United States, 658 F. Supp. 1126, 1137 (D.S.C. 1987)). Plaintiffs’ legal team

includes lawyers for one of the oldest, largest, most respected, and most successful

law firms in the country that represents plaintiffs in class actions. Selbin Decl. ¶ 3-

17. It also includes an attorney with a thorough knowledge of the facts and highly

technical details of the case and great skill in working with expert witnesses to test

the strength of Plaintiffs’ claims. K. Patel Decl. ¶ 14-16. Among other things, Mr.

Patel personally participated in six testing session four vehicles and plus numerous

HVAC assemblies and worked hand-in-hand with the experts to do such work. K.

Patel Decl. ¶ 16. He also reviewed tens of thousands of pages of technical

documents and diagrams from discovery and public sources, discussing these

details, test findings, and Class Member experiences with expert witnesses. K.

Patel Decl. ¶ 15, 18. Their experience and skill was needed given the complexity of

the case and the quality of the opposition. The lawyers who represented Mercedes

are also highly skilled and come from two of the nation’s largest corporate defense

firms. This factor weighs in favor of approval of the requested fee award.

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             4.     The Customary Fee
      Complex product defect litigation customarily is handled on a contingent fee

basis, because consumers are unwilling and unable to pay substantial hourly rates

and the potential recovery does not justify the economic investment. Contingent

fees in such cases typically range from 33.3% to 40% of the recovery. In re

Equifax, 2020 WL 256132, at *33. The requested fee is substantially below that

range. This factor weighs in favor of approval the requested fee award.

             5.     Whether the Fee is Fixed or Contingent
      Class Counsel prosecuted this case on a purely contingent-fee basis. Selbin

Decl. ¶ 18; K. Patel Decl. ¶ 20. “A contingency fee arrangement often justifies an

increase in the award of attorneys’ fees.” In re Equifax, 2020 WL 256132, at *33

(quoting Behrens v. Wometco Enters, Inc., 118 F.R.D. 534, 548 (S.D. Fla. 1998)).

A larger award is justified for attorneys who work on a contingent-fee basis

because if the case is lost the attorneys will see no return for investing time and

money in the case. Id. (citing In re Friedman’s, Inc. Sec. Litig., 2009 WL 1456698,

at *3 (N.D. Ga. May 22, 2009). This factor weighs in favor of approval of the

requested fee award.

             6.     The Amount Involved and the Results Obtained
      The Settlement provides outstanding benefits to Class Members directly



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responsive to the harm they incurred. It provides for reimbursement for qualified

past repairs and a forward-looking extended and enhanced warranty to cover

qualified future repairs through Authorized Service Centers. The past-repair

portion and forward-looking warranty are uncapped; Mercedes will pay all eligible

claims. Settlement § 4.4-5, 5.1. The estimated value of the benefits made available

to Class Members in the form of future repairs is between $30.8 million and $97.5

million. See Allen Decl. ¶ 29. Plaintiffs do not have sufficient data to determine the

exact value of reimbursement of Class Members for past out-of-pocket costs, but

such reimbursements will undoubtedly increase the value of the benefits for the

Class. This factor weighs in favor of approval of the requested fee award.

             7.    Awards in Similar Cases
      The requested fee award is in line with—if not substantially lower than—

awards in other class actions that have resulted in similarly impressive settlements.

The fee represents, at most, at most, between 5% and 14.4% of the future-repairs

portion of the common fund, and likely substantially less once the value of the past

repair reimbursements is included. Following Camden I, percentage-based fee

awards in the Eleventh Circuit have averaged around 33% of the class benefit. See,

e.g., Wolff , 2012 WL 5290155 at *5-6 (S.D. Fla. Sept. 26, 2012) (“The average

percentage award in the Eleventh Circuit mirrors that of awards nationwide—



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roughly one-third.”); T. Eisenberg, et al., Attorneys’ Fees in Class Actions: 2009-

2013, 92 N.Y.U. Law Rev. 937, 951 (2017) (the median fee from 2009 to 2013

was 33%). This factor weighs in favor of approval of the requested fee award.

             8.    The Risks Undertaken by Class Counsel and the Economics
                   Involved in Prosecuting a Class Action
      Prosecuting large-scale class action lawsuits on a contingency basis is

inherently risky. Class Counsel’s business model involves prosecuting a relatively

small number of major class actions, going for some time without revenue, and

relying on periodic fee awards to pay overhead and finance the millions of dollars

needed to cover litigation expenses. Selbin Decl. ¶ 19. For roughly six years, Class

Counsel devoted a substantial portion of his firm’s practice to this case without

revenue, forgoing many other cases along the way. K. Patel Decl. ¶ 21. This case

always involved a high degree of risk of no recovery. Without such an award of

fees, the incentive to undertake a class action against experienced and well-paid

defense counsel will be undercut, discouraging competent lawyers from acting as

“private attorneys general,” and thus weakening the deterrent impact of our

consumer protection laws. Columbus Drywall, 2012 WL 12540344, at *7.

      D.     Class Counsel’s Fee Request is Reasonable Under a Lodestar
             Cross-Check.

      The Eleventh Circuit has authorized courts to use the lodestar method to



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cross-check the reasonableness of a percentage-based fee, but such a cross-check is

not required. In re Equifax, 2020 WL 256132, at *39 (citing Waters v. Intern.

Precious Metals Corp., 190 F.3d 1291, 1298 (11th Cir. 1999)). In fact, “a cross-

check can re-introduce the same undesirable incentives the percentage method is

meant to avoid and for that reason courts regularly award fees without discussing

lodestar at all.” Id. (citing In re Checking Acct. Overdraft Litig., 830 F. Supp. 2d.

1330, 1362 (S.D. Fla. 2011) and Champs Sports Bar & Grill Co. v. Mercury

Payment Systems, LLC, 275 F. Supp. 3d 1350, 1350 (N.D. Ga. 2017)); see also In

re Checking, 830 F. Supp. 2d at 1362 (“The lodestar approach should not be

imposed through the back door via a cross-check.”).

       Nevertheless, a lodestar cross-check confirms the reasonableness of the

requested fee here. As of April 10, 2020, Class counsel and those under their

direction have spent over 6,609 hours intensively litigating this case.2 Selbin Decl.

¶ 72; K. Patel Decl. ¶ 22. Using current billing rates for counsel and market rates

that are reasonable and approved in other class actions, Selbin Decl. ¶ 75-78; K.

Patel Decl. ¶ 23-26, the value of this work is $3,685,811. Class Counsel expect to

spend dozens or even hundreds of more hours assisting Class Members with their


2
  Should the Court want more detail, Class Counsel stand ready to provide itemized billing
records in camera.



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claims, as well as being “on call” for the next ten years as needed to assist with any

issues that arise under the extended warranty, substantially increasing the total

lodestar. Selbin Decl. ¶ 73; K. Patel Decl. ¶ 27.

      When a lodestar cross-check is done in common fund cases, “courts

typically apply a multiplier to reward counsel for their risk, the contingent nature

of their fee, and the results obtained.” In re Equifax, 2020 WL 256132, at *39.

Here, the requested fee represents Class Counsel’s total current lodestar, excluding

any future hours spent assisting Class Members, with a multiplier of 1.41, which

is well below multipliers applied in lodestar cross-checks in other cases. See, e.g.,

In re Equifax, 2020 WL 256132, at *39 (multiplier of 2.62 “is consistent with

multipliers approved in other cases”); Columbus Drywall, 2012 WL 12540344, at

*5 & n.4 (multiplier of four times the lodestar was “well within” the accepted

range and citing examples); Pinto v. Princess Cruise Lines Ltd., 513 F. Supp. 2d

1334, 1344 (S.D. Fla. 2007) (multipliers “‘in large and complicated class actions’

range from 2.26 to 4.5 while ‘three appears to be the average.’”) (internal

quotations omitted).

      E.     Class Counsel’s Expenses are Reasonable and Appropriate.

      Mercedes agreed not to object to a request of $200,000 for reimbursement of

expenses incurred by Class Counsel in connection with this litigation. “Courts


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normally grant expense requests in common fund cases as a matter of course.”

Gonzalez v. TCR Sports Broad. Holding, LLP, No. 1:18-CV-20048-DPG, 2019

WL 2249941, at *6 (S.D. Fla. May 24, 2019). “It is well settled that

‘[e]xpenses such as reimbursement for travel, meals, lodging, photocopying, long-

distance telephone calls, computer legal research, postage, courier service,

mediation, exhibits, documents scanning, and visual equipment are typically

recoverable….’” Brown Jordan Int’l, Inc. v. Carmicle, No. 14-60629-CV, 2017

WL 5633312, at *10 (S.D. Fla. Aug. 7, 2017) (quoting Keegan v. Am. Honda

Motor Co, Inc., No. CV1009508MMMAJWX, 2014 WL 12551213 (C.D. Cal. Jan.

21, 2014)).

       As of April 10, 2020, Class Counsel expended more than the $200,000 they

seek in expense reimbursement: $222,502.37. This includes the costs of retaining

experts to investigate the nature and scope of the defect, both pre- and post-filing,

for engaging an international service specialist to serve Daimler through the Hague

Convention, and other ordinary litigation expenses.3 Selbin Decl. ¶ 79; K. Patel

Decl. ¶ 28. These expenses—detailed in the declarations—were reasonable and

necessary for the successful prosecution of this case on behalf of the Class. Class


3
 Should the Court want more detail into Class Counsel’s expenses, Class Counsel stand ready to
provide itemized records in camera.



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Counsel respectfully request that the Court approve reimbursement of $200,000 in

expenses to Class Counsel.

      F.     The Requested Service Awards Are Appropriate.

      While the Eleventh Circuit has not expressly set forth guidelines for courts

to use in determining incentive awards, there is ample precedent for awarding

incentive compensation to class representatives at the conclusion of a successful

class action. Allapattah Servs., Inc. v. Exxon Corp., 454 F. Supp. 2d 1185, 1218

(S.D. Fla. 2006) (collecting cases). In fact, “courts routinely approve service

awards to compensate class representatives for the services they provide and the

risks they incur on behalf of the class.” In re Equifax, 2020 WL 256132, at 40

(approving service award of $2,500 for each class representative); see also In re

Checking Acct. Overdraft Litig., 830 F. Supp. 2d. at 1362 (approving service award

of $10,000 each for each class representative); Markos v. Wells Fargo Bank, N.A.,

No. 1:15-CV-01156-LMM, 2017 WL 416425, at *3 (N.D. Ga. Jan. 30, 2017)

(approving service award of $20,000 for each class representative). The Settlement

provides for an aggregate service award of $40,000. Class Counsel propose to

allocate the award among the nine Class Representatives based on the number of

in-person inspections conducted on their vehicles, with individual awards ranging

from $6,000 to $2,500. K. Patel Decl. ¶ 29. Class Counsel has notified all of the


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Class Representatives of the proposed allocation of the service award, and all Class

Representatives have agreed to the proposed allocation. K. Patel Decl. ¶ 30. This is

a reasonable award for the Class Representatives, who devoted substantial time

and effort to this litigation working with their lawyers to prosecute their claims and

achieve a settlement for the benefit of the entire class. But for these Class

Representatives’ service, other Class Members would have received nothing.

V.     CONCLUSION

       The Settlement in this case provides outstanding benefits to Class Members.

Class Counsel’s attorneys’ fees and cost request is reasonable and appropriate, as is

the requested service award, both of which are paid in addition to, not out of, Class

Members’ recoveries. Thus, Class Counsel respectfully request that the Court

approve an award of $5.2 million in attorneys’ fees, $200,000 for reimbursement

of expenses reasonably incurred in connection with this litigation, and a service

award totaling $40,000 to compensate the Class Representatives for the services

they provided and the risks they incurred during the course of the class action

litigation.




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Dated: April 13, 2020              Respectfully submitted,

                                   By: /s/ Ketan A. Patel
                                      Ketan A. Patel

                                   Ketan A. Patel (State Bar Number 121099)
                                   kp@personalinjury-ga.com
                                   CORPUS LAW PATEL, LLC
                                   P.O. Box 724713
                                   Atlanta, Georgia 31139
                                   Telephone: (678) 597-8020
                                   Facsimile: (678) 826-4700

                                   Jonathan D. Selbin (admitted pro hac vice)
                                   jselbin@lchb.com
                                   Annika K. Martin (admitted pro hac vice)
                                   akmartin@lchb.com
                                   Sean A. Petterson (pro hac vice pending)
                                   spetterson@lchb.com
                                   LIEFF CABRASER HEIMANN &
                                   BERNSTEIN, LLP
                                   250 Hudson Street, 8th Floor
                                   New York, NY 10013-1413
                                   Telephone: (212) 355-9500
                                   Facsimile: (212) 355-9592

                                   Attorneys for Plaintiffs and the Proposed
                                   Class




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                         CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 5.1C, I hereby certify that this brief was prepared

using 14 point Times New Roman font with a top margin of not less than 1.5

inches and a left margin of not less than 1 inch.

Dated: April 13, 2020            Respectfully submitted.

                                 By: /s/ Ketan A. Patel
                                     Ketan A. Patel




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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 13th Day of April, 2020, I caused the foregoing

to be electronically filed with the Clerk of Court using the CM/ECF system, which

will automatically send email notification of such filing to all attorneys of record.

                          By: /s/ Ketan A. Patel
                               Ketan A. Patel




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